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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 LIZNELIA BAEZ,

                      Plaintiff,

 v.                                                     Case No: 6:15-cv-1043-Orl-40TBS

 LTD FINANCIAL SERVICES, L.P.,

                      Defendant.
                                            /

                                            ORDER

        This cause comes before the Court on the following:

           1. Plaintiff’s Renewed Motion for Attorneys’ Fees, Costs, and Incentive Award

               (Doc. 173 (the “Motion”));

           2. Defendant’s Response in Opposition (Doc. 179);

           3. Magistrate Judge Thomas B. Smith’s Report & Recommendation (Doc. 181

               (“R&R”));

           4. Plaintiff’s Objections to Magistrate’s R&R (Doc. 183); and

           5. Defendant’s Response to Plaintiff’s Objections (Doc. 189).

 With briefing complete, the matter is ripe.

 I.     BACKGROUND

        In June 2015, Plaintiff initiated this FDCPA class action suit against Defendant.

 (Doc. 1). The class was certified, and, after substantial motion practice, the case was tried

 to a jury in May 2017. (Docs. 106, 119). Plaintiff prevailed at trial, with the jury awarding

 $1,000.00 in statutory damages and $49,361.29 to the class. (Doc. 134). Defendant
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 appealed and Plaintiff’s verdict was affirmed. (Docs. 162, 171, 172). Thereafter, Plaintiff

 timely filed the Motion. (Doc. 173).

        Plaintiff seeks $253,650.00 in attorneys’ fees and $23,042.22 in costs. (Id.).

 Plaintiff also requests a $2,500.00 class representative incentive award. (Id.). Attached

 to the Motion are timesheets, declarations from class counsel, declarations from

 individuals familiar with similar fee determinations, the U.S. Consumer Law Attorney Fee

 Survey Report, several cases, and a list of costs and supporting invoices. (Docs. 173-1

 through 173-14).

        The R&R recommended that the Motion be granted in part and denied in part.

 (Doc. 181). Specifically, the R&R recommended reducing the number of hours and hourly

 rate sought by Plaintiff’s Counsel. (Id.). The R&R also recommended denying Plaintiff’s

 request for costs, instead urging costs be pursued via a bill of costs. (Id.). Finally, the

 R&R recommended granting the incentive award, which Defendants did not oppose. (Id.).

 Plaintiff’s Counsel lodged numerous objections to the R&R.

 II.    STANDARD OF REVIEW

        A.     Review of Report & Recommendation

        When a magistrate judge has been designated to decide a matter that is dispositive

 in nature, the magistrate judge must issue a report to the district judge specifying

 proposed findings of fact and the recommended disposition. Fed. R. Civ. P. 72(b)(1). Any

 party who disagrees with the magistrate judge’s decision has fourteen days from the date

 of the decision to seek the district judge’s review by filing objections to those specific

 portions of the decision with which the party disagrees. Fed. R. Civ. P. 72(b)(2). The

 district judge must then make a de novo determination of each issue to which objection




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 is made. Fed. R. Civ. P. 72(b)(3). De novo review “require[s] independent consideration

 of factual issues based on the record.” Jeffrey S. v. State Bd. of Educ., 896 F.2d 507, 512

 (11th Cir. 1990) (per curiam). The district judge may then accept, reject, or modify the

 magistrate judge’s recommendation, receive additional evidence or briefing from the

 parties, or return the matter to the magistrate judge for further review. Fed. R. Civ. P.

 72(b)(3).

         B.    Attorneys’ Fees Determinations

         The Court uses the familiar “lodestar” method in determining a reasonable fee

 award, which is calculated by multiplying the reasonable hourly rate by the number of

 hours reasonably expended. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). The party

 moving for fees has the burden of establishing that the hourly rate and hours expended

 are reasonable. Norman v. Housing Auth. of the City of Montgomery, 836 F.2d 1292,

 1303 (11th Cir. 1988). There is a strong presumption that the lodestar figure is

 reasonable. Perdue v. Kenny A. ex rel Winn, 559 U.S. 542, 553-54 (2010).

 III.    DISCUSSION

         Plaintiff presented the following information regarding the time her Counsel worked

 on this case and their requested hourly rates:

        Attorney/Paralegal          Hours         Rate         Lodestar

  Brian W. Warwick, Esq.            199.50        $500        $99,750.00

  Janet R. Varnell, Esq.              120         $500        $60,000.00

  David K. Lietz, Esq.              165.60        $500        $82,800.00

  Steven Simmons, Jr., Esq.          34.60        $500        $10,380.00

  Karen Stroly, Paralegal             4.8         $150          $720.00




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  TOTAL                            524.50                   $253,650.00


 (Doc. 173). Defendant argued that both the hours claimed, and rate requested by Plaintiff,

 were excessive and the Magistrate agreed. The R&R therefore recommended cutting

 175.9 partner hours and setting the reasonable rate figure at $400 per hour as to the

 partners (Warwick, Varnell, and Lietz), and $150 per hour as to the associate (Simmons).

 (Doc. 181). Plaintiff objected to the Magistrate’s recommendations. (Doc. 183).

       The Magistrate aptly described the attorneys’ bona fides:

       The supporting declarations establish that the firm of Varnell & Warwick
       focuses almost exclusively on consumer class actions and litigation (Doc.
       173-2). Mr. Warwick has been practicing for 19 years within the area of
       complex consumer litigation and has acted as lead counsel in numerous
       class actions. Ms. Varnell has been practicing for 24 years in consumer law
       and has served on several prestigious consumer law committees and
       boards. Mr. Lietz is of counsel with the firm, has been practicing law for 27
       years and has “been lead counsel in bench and jury civil trials in both state
       and federal courts across the country for over 25 years.” (Doc. 173-4).
       There is no information provided as to Mr. Simmons’s experience or
       qualifications, other than that he was employed by the firm in the earlier
       stages of the case (Doc. 173-2). Also absent is information with respect to
       Ms. Stroly. Still, as she has not performed any services in the case before
       this Court, I do not discuss whether her rate is reasonable.

 (Doc. 181, pp. 10–11).

       A.     Reasonable Hourly Rate

       “[A] reasonable hourly rate is the prevailing market rate in the relevant legal

 community for similar services by lawyers of reasonably comparable skills, experience,

 and reputation.” Duckworth v. Whisenant, 97 F.3d 1393, 1396 (11th Cir. 1996) (quotations

 and citation omitted). In determining if the requested rate is reasonable, the Court may

 consider the applicable Johnson factors and may rely on its own knowledge and

 experience. Norman, 836 F.2d at 1299-1300, 1303 (“The court, either trial or appellate,

 is itself an expert on the question and may consider its own knowledge and experience



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 concerning reasonable and proper fees and may form an independent judgment either

 with or without the aid of witnesses as to value”); see Johnson v. Ga. Highway Express,

 Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), abrogated on other grounds by Blanchard v.

 Bergeron, 489 U.S. 87 (1989). 1 “The applicant bears the burden of producing satisfactory

 evidence that the requested rate is in line with prevailing market rates,” which must be

 more than just “the affidavit of the attorney performing the work.” Norman, 836 F.2d at

 1299 (citations omitted). Instead, satisfactory evidence generally includes evidence of the

 rates charged by lawyers in similar circumstances, or opinion evidence of reasonable

 rates. Id.

        Turning to the present case, the Court agrees with the Magistrate’s observation

 that the “time and labor required, the novelty and difficulty of the questions, and the skill

 required to perform the legal service properly are all factors that support a rate on the

 higher end.” (Doc. 181, p. 11). This class action involved a novel legal theory and was

 fiercely litigated by the parties. These factors militate in favor of a high-end fee. The

 preclusion of other employment also weighs in Plaintiff’s favor because significant time

 was required to litigate this matter through the pre-trial stages, at trial before a jury, and

 then on appeal. Moreover, the amount involved, results obtained, and the experience,

 reputation, and ability of the attorneys weigh in favor of a high-range fee award. Plaintiff



 1   The Johnson factors include: 1) the time and labor required; 2) the novelty and
     difficulty of the questions; 3) the skill requisite to perform the legal services properly;
     4) the preclusion of other employment by the attorney due to acceptance of the case;
     5) the customary fee in the community; 6) whether the fee is fixed or contingent; 7)
     time limitations imposed by the client or circumstances; 8) the amount involved and
     the results obtained; 9) the experience, reputation, and the ability of the attorney; 10)
     the “undesirability” of the case; 11) the nature and length of the professional
     relationship with the client; and 12) awards in similar cases. Johnson, 488 F.2d at 717-
     19.



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 succeeded at trial and appeal, and Plaintiff’s counsel have shown they are experienced

 and successful consumer class action lawyers.

        Another important consideration supporting a higher-end fee is the fact that

 Plaintiff’s Counsel’s fee was contingent. Indeed, Congress and the courts recognize that

 lawyers working for a contingent fee are entitled to “upward [fee] adjustments to

 compensate for the contingent nature of success, and thus for the risk of nonpayment in

 a particular case.” Blum v. Stenson, 465 U.S. 886, 903 (1984) (Brennan, J., concurring).

        The client-imposed time restriction factor is neutral, as is the professional

 relationship with the client. Likewise, the undesirability of the case is mixed. The

 availability of statutory attorneys’ fees to successful plaintiffs’ counsel undermines the

 undesirability argument. On the other hand, Plaintiff proffers that “Defendant is now

 apparently broke,” therefore this case is undesirable. Plaintiff’s contention of Defendant’s

 financial condition is supported by a single email from defense counsel proffering that

 Defendant has “no ability” to pay the damages award, let alone attorneys’ fees. (Doc.

 173-10). This paltry evidence is insufficient to allow the Court to make any conclusions

 as to Defendant’s financial condition. What’s more, it is unclear whether a defendant

 going “broke” post-appeal renders a case undesirable. The Johnson decision’s discussion

 of the undesirability factor guides the Court’s analysis:

        The “undesirability” of the case. Civil rights attorneys face hardships in their
        communities because of their desire to help the civil rights litigant.
        Oftentimes his decision to help eradicate discrimination is not pleasantly
        received by the community or his contemporaries. This can have an
        economic impact on his practice which can be considered by the Court.

 Johnson, 488 F.2d at 719 (citation omitted). In describing this factor, the court in Johnson

 wasn’t concerned with a defendant’s ability to pay statutory fees, but with the reputational




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 damage suffered by civil rights attorneys taking on controversial civil rights cases. Thus,

 Plaintiff has not shown that this factor supports an elevated hourly fee.

        Finally, the Court must consider the fees customary to lawyers in the community

 and awards from past cases. The Magistrate identified several recent FDCPA cases

 where plaintiff’s counsel was awarded a $350 per hour fee—but the only similarity

 between this case and those is prosecution under the FDCPA. (Doc. 181, p. 13). Two of

 the identified cases were resolved on a default judgment, and another was settled. 2 While

 not totally unhelpful, these cases are at best marginally similar to the determination at

 hand. Also unhelpful is the U.S. Consumer Law Attorney Fee Report submitted by

 Plaintiff. See Alston, 2018 WL 3448595, at *10 (collecting cases).

        This was not a straightforward FDCPA case. It was fiercely litigated pre-trial, before

 a jury, and on appeal, and involved novel legal theories. It required, and was sustained

 by, competent attorneys with vast experience in the consumer law context. Therefore,

 based on the Johnson factors and the Court’s own experience, Norman, 836 F.2d at

 1299-1300, 1303, the Court finds an hourly rate of $450 to be reasonable for Warwick,

 Varnell, and Lietz.

        As noted above, Plaintiff initially neglected to provide evidence of Simmons’

 background or experience. The Magistrate therefore “treated him as a newly minted

 associate or paralegal and suggest[ed] a rate of $150 an hour.” (Doc. 181, p. 13). In the




 2   Alston v. Summit Receivables, No. 6:17-CV-1723ORL31DCI, 2018 WL 3448595, at
     *10 (M.D. Fla. June 27, 2018), report and recommendation adopted, 2018 WL
     3436789 (M.D. Fla. July 17, 2018); Prindle v. Carrington Mort. Servs., LLC, No. 3:13-
     cv-1349-J-34PDB (M.D. Fla. Dec. 1, 2017); Lietz v. Oxford Law, LLC, 8:15-CV-2211-
     T-23TGW, 2016 WL 2897469, at *3 (M.D. Fla. Apr. 22, 2016), report and
     recommendation adopted, 2016 WL 2787099 (M.D. Fla. May 13, 2016).



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 Objection, Plaintiff concedes that it was a “mere oversight” that Mr. Simmons’ background

 was not included, and the Objection lays out Mr. Simmons’ experience. (Doc. 183, pp. 4–

 5). However, unsworn arguments contained in a legal brief do not satisfy the quantum of

 evidence required to substantiate fee requests. See Norman, 836 F.2d at 1299, 1303.

 However, the Court is cognizant that experience and background is but one factor to be

 considered among twelve and is not dispositive. That is to say that Simmons’ attorney fee

 is impacted by some of the factors that benefited his colleagues—namely, time and labor

 required, the novelty and difficulty of the questions, the skill required, the results obtained,

 and the contingency-fee agreement. These factors surely warrant a fee for Simmons

 exceeding a fee awarded to a newly minted attorney in a simple FDCPA case.

 Accordingly, the Court finds $250.00 to be a reasonable hourly rate for Simmons.

        B.     Number of Hours Reasonably Expended

        As noted above, Plaintiff seeks 524.5 hours split among four attorneys and one

 paralegal. (Doc. 173). Warwick submitted a declaration averring that he personally

 reviewed the time entries and “struck repetitive or excessive time equating to

 approximately 20% of the overall time recorded in this matter.” (Doc. 173-2). Even so, the

 Magistrate found this request excessive, the case overstaffed, and recommended

 substantial reductions. (Doc. 181). Plaintiff objects to those reductions. (Doc. 183).

               1.      Hours Expended on Appeal

        Though Defendant did not initially oppose Plaintiff’s request for attorneys’ fees

 incurred litigating the appeal (Doc. 179), the Magistrate unilaterally reviewed them, and

 recommended they be disallowed unless Plaintiff can “establish[] the authority of this

 Court to award fees for services in another court . . . .” (Doc. 181, pp. 9–10). The




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 Magistrate’s finding was predicated on 11th Cir. Rule 39-2, which sets the time for filing

 a motion for appellate attorneys’ fees at fourteen days after the appeal concludes and

 prescribes a protocol for transferring attorneys’ fees determinations to the district court.

 (Id. at p. 9 n.2). The rule states:

        11th Cir. R. 39-2 Attorney’s Fees

        (a) Time for Filing. Except as otherwise provided herein or by statute or
        court order, an application for attorney’s fees must be filed with the
        clerk within 14 days after the time to file a petition for rehearing or
        rehearing en banc expires, or within 14 days after entry of an order
        disposing of a timely petition for rehearing or denying a timely petition
        for rehearing en banc, whichever is later. For purposes of this rule, the
        term “attorney’s fees” includes fees and expenses authorized by statute, but
        excludes damages and costs sought pursuant to FRAP 38, costs taxed
        pursuant to FRAP 39, and sanctions sought pursuant to 11th Cir. R. 27-4.

        ...

        (d) Motion to Transfer. Any party who is or may be eligible for attorney’s
        fees on appeal may, within the time for filing an application provided by this
        rule, file a motion to transfer consideration of attorney’s fees on appeal to
        the district court or administrative agency from which the appeal was taken.

 Noting that Plaintiff did not apply for attorneys’ fees or move to transfer such an

 application under 11th Cir. Rule 39-2, the Magistrate found that Plaintiff had not

 established that this Court had jurisdiction to award appellate fees. (Doc. 181, pp. 9–10).

 Plaintiff objects. (Doc. 183).

        The Eleventh Circuit expounded on Rule 39-2 in Common Cause/Georgia v.

 Billups, 554 F.3d 1340 (11th Cir. 2009). “It is long established in this circuit that this court

 has the discretion to award attorney's fees and costs for the work expended before it.” Id.

 at 1357 (quoting Mills by Mills v. Freeman, 118 F.3d 727, 734 (11th Cir.1997) (per

 curiam)). “A district court is ‘not authorized, by local rule or otherwise, to control the filing

 time or assessment of attorney's fees for services rendered on appeal.’ If a party wishes




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  to obtain fees on appeal, he or she must file a petition with the clerk of this circuit within

  fourteen days of the issuance of the opinion of this court.” Id. (quoting Davidson v. City of

  Avon Park, 848 F.2d 172, 173 (11th Cir. 1985)). Therefore, 11th Cir. Rule 39-2 “governs

  an award of attorney's fees and requires, absent statute or court order, the filing of a

  request” with the Eleventh Circuit. Id. at 1356–57.

         Plaintiff submits that Rule 39-2 does not divest this Court of jurisdiction over

  awarding appellate attorneys’ fees, that the Eleventh Circuit could not make the threshold

  determination of whether Plaintiff was a prevailing party and therefore entitled to fees,

  and they are owed fees under 15 U.S.C. § 1692k.

         These arguments, however, fail to persuade the Court how 11th Cir. Rule 39-2

  does not operate to bar Plaintiff’s pending claim for attorneys’ fees. The rule plainly states

  that an application for attorneys’ fees “must” be filed with the Eleventh Circuit clerk,

  “[e]xcept as provided by statute or court order.” 11th Cir. R. 39-2(a). Plaintiff did not make

  such an application, nor does she identify a statute or court order exempting her from this

  requirement. To be sure, district courts regularly invoke this rule to preclude recovery of

  appellate fees absent compliance with the rule. See In re Consolidated Non-Filing Ins.

  Fee Lit., No. 2:96–md–1130–MEF, 2012 WL 1366733, at *3 (N.D. Ala. Apr. 19, 2012)

  (finding that district court was without jurisdiction to award appellate fees where movant

  did not request attorneys’ fees with the Eleventh Circuit); Sure Fill & Seal, Inc. v. GFF,

  Inc., No. 8:08–CV–882–T–17TGW, 2012 WL 5227676, at *7–8 (M.D. Fla. Apr. 2, 2012)

  (same); cf. Young Apartments, Inc. v. Town of Jupiter, No. 05-CV-80765,

  RYSKAMP/VITUNAC, 2011 WL 13173808, at *2 n.2 (finding that district court possessed

  jurisdiction to award appellate fees where fee-seeking litigant filed a motion with Eleventh




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  Circuit “to transfer consideration of attorneys’ fees on appeal to the district court” pursuant

  to 11th Cir. R. 39-2(d)). Accordingly, the Court agrees with the Magistrate that Plaintiff

  has not demonstrated entitlement to appellate fees, and will thus disallow 4.80 hours of

  paralegal hours, 3 and 77.6 hours of partner time.

                2.     Reduction for Conferences With Co-Counsel

         In its opposition to Plaintiff’s motion for attorneys’ fees, Defendant identified 31.4

  hours spent by Plaintiff’s counsel conferencing with each other. (Doc. 179, pp. 9–13).

  Defendant supported its contention that these hours are not compensable by citing the

  declaration of Ernest H. Kohlmyer, III, an experienced consumer law attorney, which

  states: “there is rarely a need for more than a single experienced attorney to prosecute

  cases through trial and the instant matter does not present any unique legal or factual

  issues that would require multiple attorneys for prosecution.” (Doc. 153-1, p. 6).

  Kohlmyer’s opinion implicitly maintains that this case—a class action involving a novel

  legal theory in this Circuit—can be litigated in the same manner as a run-of-the-mill single-

  plaintiff FDCPA case. The Court is skeptical of this assertion. The Magistrate, however,

  agreed and reduced 18 partner level hours for time spent conferencing with co-counsel,

  drafting a pro hac vice motion, and reviewing the case file. (Doc. 181, p. 7).

         The Court finds that this reduction was error. “There is nothing inherently

  unreasonable about a client having multiple attorneys, and they may all be compensated

  if they are not unreasonably doing the same work and are being compensated for the

  distinct contribution of each lawyer.” Norman, 838 F.2d at 1302. Accordingly, the Court

  will overrule the reduction in hours for conferences with co-counsel.



  3   The only hours claimed on behalf of Ms. Stroly were in connection with the appeal.



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                 3.      Reductions for Varnell’s and Lietz’s Trial Time

         Defendant also objects to the substantial time billed by Varnell and Lietz at trial

  and travelling. (Doc. 179, pp. 13–14, 17–18). Varnell submits a claim for 29 hours

  preparing for and attending trial; Lietz claims 50 hours. The Magistrate described Varnell’s

  involvement as being limited to conducting Plaintiff’s direct examination and reading

  deposition testimony. (Doc. 181, pp. 7–8). Lietz, on the other hand, gave Plaintiff’s

  opening statement and read deposition testimony with Varnell. (Id. at p. 8). The

  Magistrate found both attorneys’ time claims excessive and recommended reducing them

  by fifty percent. (Id.).

         The Court finds the Magistrate’s fifty percent reduction was improper. The number

  of hours claimed by Varnell and Lietz is not unreasonable, and the work each performed

  at trial is not as narrow as construed by Defendant or the Magistrate. Litigating a jury trial

  takes many hours of preparation, and an attorney need not be actively speaking at trial

  to be contributing. Accordingly, the Court overrules the reduction of Varnell’s and Lietz’s

  travel time, finding those hours were reasonably expended.

                 4.      Reductions for Travel Time

         Defendant also objected to the hours claimed by Defendant for travel. (Doc. 179,

  pp. 13–14). Plaintiff sought 53.8 hours of billable time for travel to and from hearings,

  depositions, and mediation. The Magistrate found 25 hours “to be reasonable for

  necessary travel, resulting in a reduction of 28.8 hours of partner time.” (Doc. 181, p. 8).

  Plaintiff objects.

         Plaintiff correctly points out that, between the reductions for Varnell’s and Lietz’s

  trial time and their travel time, the Magistrate effected impermissible double deductions.




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  This resulted in a recommendation that Lietz recover 5.5 of the 50.5 hours he spent

  preparing for, travelling to, and participating in trial. The Court finds a less drastic

  reduction appropriate. “[W]ith the exception of routine office overhead normally absorbed

  by the practicing attorney, all reasonable expenses incurred in case preparation, during

  the course of litigation, or as an aspect of settlement of the case may be taxed as costs

  under § 1988.” Dowdell v. City of Apopka, 698 F.2d 1181, 1192 (11th Cir. 1983). Travel

  time is compensable. “Courts in the Middle District have taken varying approaches to

  awarding fees for travel time. Some have deducted the time where able local counsel was

  available, some have awarded it, and others have reduced the number of recoverable

  hours.” Martinez v. Hernando Cty. Sheriff’s Off., No. 8:12–cv–666–T–27TGW, 2013 WL

  6047020, at *3 (M.D. Fla. Nov. 13, 2013) (collecting cases). In its discretion, the Court will

  reduce travel hours by ten percent, resulting in a 5.4-hour reduction of partner time.

          This case was more difficult than the average FDCPA case, and required

  experienced attorneys, which Plaintiff engaged. There is no requirement that plaintiffs

  retain counsel located within the city limits of the courthouse, therefore the bulk of the

  time spent travelling by Plaintiff’s lawyers were reasonable. See Dowdell, 698 F.2d at

  1192.

                5.     Agreed Reductions

          The Magistrate also recommended reducing 2.5 hours of partner time spent

  seeking deadline extensions, 7 hours of partner time for deposition designations, and

  2.5 hours of partner time (attributed to Warwick) travelling to Orlando to become familiar

  with courtroom technology before trial. (Doc. 181, pp. 8–9). Plaintiff does not object to the




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  recommended twelve-hour partner time reduction. Upon review, the Magistrate did not

  commit clear error in recommending these reductions, which the Court now adopts.

         C.      Lodestar Calculation

         In light of the foregoing, the Court calculates the lodestar as follows:

         Partner time:          390.1 hours x $450 =          $175,545.00

         Associate:             34.6 hours x $250 =           $8,650.00

                 TOTAL:                                       $184,195.00

         D.      Costs

         Plaintiff seeks reimbursement of $23,042.22 in litigation costs. (Doc. 173, p. 22).

  Included in that number is $16,890.24 of costs incurred in issuing notice to the class. (Id.;

  Doc. 173-14). The Magistrate recommended this request be denied and that Plaintiff

  “seek recovery by filing a Bill of Costs to be taxed by the Clerk in the usual course.” (Doc

  181, p. 14). Plaintiff concedes that a Bill of Costs may be appropriate as to many of the

  costs requested, but objects to this procedure as to the $16,890.24 costs being recovered

  in this manner. (Doc. 183, p. 16). Plaintiff avers that “the cost of [n]otice to the [c]lass . . .

  is a matter outside” the Clerk’s purview and must be awarded by a district court acting in

  its discretion. (Id.). Defendant did not address the costs issues in its response to Plaintiff’s

  objections. (Doc. 189).

         Plaintiff directs the Court to Hunt v. Imperial Merchant Services, Inc., 560 F.3d

  1137 (9th Cir. 2009), which followed other district courts that “placed notice costs on the

  class action defendant once the defendant’s liability has been established.” Id. at 1143

  (collecting cases). The Court agrees that it may, in its discretion, award costs of providing




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  notice to the class where Plaintiff has shown success on the merits. Accordingly, the

  Court will tax costs of $16,890.24 against Defendant.

        E.      Incentive Award

        The R&R also recommended the named Plaintiff be awarded a $2,500.00 incentive

  award. (Doc. 181). This incentive, however, was already awarded in the Court’s May 3,

  2019, Order (Doc. 198, ¶ 3), so it is denied here as moot.

  IV.   CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED as follows:

             1. Plaintiff’s Renewed Motion for Attorneys’ Fees, Costs, and Incentive Award

                (Doc. 173) is GRANTED IN PART and DENIED IN PART.

             2. The Report & Recommendation (Doc. 181) is ADOPTED IN PART and

                REVERSED IN PART.

             3. Plaintiff’s Objections to Magistrate’s R&R (Doc. 183) are SUSTAINED IN

                PART and OVERRULED IN PART.

             4. Plaintiff is awarded $184,195.00 in attorneys’ fees. The Clerk is DIRECTED

                to enter judgment awarding Plaintiff Liznelia Baez attorneys’ fees as set

                forth above.

             5. The Clerk is DIRECTED to tax costs in the amount of $16,890.24.

        DONE AND ORDERED in Orlando, Florida on May 23, 2019.




  Copies furnished to:
  Counsel of Record



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